

People v Trottman (2018 NY Slip Op 07078)





People v Trottman


2018 NY Slip Op 07078


Decided on October 23, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 23, 2018

Sweeny, J.P., Gische, Tom, Mazzarelli, Kern, JJ.


7453 3768/16

[*1]The People of the State of New York, Respondent,
vDavid Trottman, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jody Ratner of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Philip Morrow of counsel), for respondent.
 	



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Gilbert Hong, J.), rendered June 1, 2017,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED:
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








